                        Case 3:13-cr-00684-ZNQ                                           Document 5                        Filed 07/08/13                              Page 1 of 1 PageID: 24



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                                                                       c FJon                       :‘   Petty Offense                   Adult Defendant           [   Appellant                 ‘ee nirut
                                                                       L Msdernanor                 Li C (her
                 USA V HALL                                                                                                      L       Ju’enIe [)efendant            \ppellee
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     I)            T UR\L S \ iMP                r    ai           a’ \ar :ruJrr                                                 II ( 01. RI )RPFR
                   O’[) HAlF 1O d)[)RLSS                                                                                          ] 0 ppoinPn Counsel                                   Z C Co-Counsel
             PARKOWITZ ODONNELL                                 ‘ LP
                                                                                                                                     F Sjhs For Federal Defender
                                                                                                                                     .
                                                                                                                                                                                        Z R Subs For Retdlned Attorne
                                                                                                                                     p Subs For Rind .\ttorne\                          Z ‘s StanTh\ Counsel
             3131 PRINCETON PIKE, BUILDING 3D, SUITE 200
             LAWRENCEVILLE NJ 08648                                                                                            or ttorne’ s ‘Janie
                                                                                                                                   •\ppomrrnent Dates
                                                                                                                                     Because the aboe-named persen repreSented has tenfied under oath or has othersi
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                   Felephone \urnber                                                                                           ansed tho Ct that he or she I is tnciI unable to employ counsel and 2 Jcs
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     14           N MF \ND MAlt NO DDRfSS OF F MT FIRM o)nl provide per .rsIrren.ms)                                           name appears in Item 12 is appointed to represent this person in this case. OR
                                                                                                                                j] Other See 1  us!ridv1),.na)
             MARKOWITZ ODONNELL, LLP
             3131 PRINCETON PIKE, BUILDING 3D, SUITE 200                                                                                                  ,
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                                                                                                                                                      Signature Preiding Judge or R Order of the Court
             LA\IVRENCEVILLE NJ 08648
                                                                                                                                                                                                     7-3-13
                                                                                                                                             Date of Order                               Nunc Pro Pane Date
                                                                                                                             Repayment or partial repayment ordered from the person represented for this sers ice at tame
                                                                                                                             appointment                  fl YES          NO
                                       CLAIM FOR SERVICES AND EXPENSES                                                                                                     FOR COURT USE ONLY
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                   c. [ egal research and brief writing                                                                                            u.pó
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                 representation) C YES           C NO             If’.es. gne details on additional sheets
                 I ass ear or affirm the truth or correctness of the above statements.
                 Signature of Attorney                                                                                                                                 Date

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23               IN COURT COMP                       23   OUT OF COURT COMP                  25 TRAVEL EXPENSES                           26 OTHER EXPENSES                        2” ‘IOTAL AMT APPR CERT
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